        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 1 of 22



                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                                    (Greenbelt Division)


SMITHGROUP, INC.,                          )
f/k/a SmithGroup JJR, Inc.                 )
                                           )
       Plaintiff/Counterclaim Defendant    )
                                           )
v.                                         )     Civil Action No.: 88:20-cv-02499-LKG
                                           )
SKANSKA USA BUILDING, INC.                 )
                                           )
       Defendant/Counterclaim Plaintiff.   )
                                           )




PLAINTIFF SMITHGROUP, INC.’S OPPOSITION TO DEFENDANT SKANSKA USA
BUILDING INC.’S RULE 104 MOTION FOR EXCLUSION OF EXPERT TESTIMONY
             Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 2 of 22



                                                   TABLE OF CONTENTS

SUMMARY OF OPPOSITION ......................................................................................................1
CORRECTION OF SKANSKA’S FACTUAL ASSERTIONS ......................................................3
APPLICABLE LAW .......................................................................................................................5
ARGUMENT ...................................................................................................................................8
I.        MR. KIRCHNER FORMED PROPER AND ADMISSIBLE OPINIONS ABOUT THE
          APPLICABLE STANDARD OF CARE .............................................................................8
II.       LACK OF “EXPERIENCE” TESTIFYING AS AN EXPERT WITNESS IS
          IRRELEVANT TO THE EXPERT’S QUALIFICATION UNDER RULE 702 ..............14
III.      THEORIES ABOUT WITNESS BIAS SHOULD BE RAISED ON CROSS-
          EXAMINATION AT TRIAL—NOT IN A RULE 104 MOTION ...................................15
CONCLUSION ..............................................................................................................................16




                                                                     i
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 3 of 22



                              TABLE OF AUTHORITIES

Cases                                                                            Page(s)

Am. Strategic Ins. Corp. v. Scope Services, Inc., No. PX-15-2045, 2017 WL 4098722, at *2
(D. Md. Sept. 15, 2017)…………………………………………………………………………..5

Cf., Kumho Tire Co., Ltd. v. Carmichael, 562 U.S. 137, 152 (1999)………………………….1, 5

Cf., Westberry v. Gislaved Gummi AB, 178 F.3d 257, 261 (4th Cir. 1999)………………………1

Dorman v. Annapolis OB-GYN Ass., P.A., 781 Fed. App’x 136, 144 (4th Cir. 2019)……… 7, 15

Georgia-Pacific Corp. v. Ervin and Edwards Const. Co., 891 F.2d 286, 1989 WL 141652, *2
(4th Cir. 1989)…………………………………..…………………………………………7, 13, 15

Gibbes, Inc. v. Law Engineering, 960 F.2d 146, (4th Cir. 1992)…………………….6, 7, 8, 9, 10

Green v. Wing Enterprises, Inc., No. RDB-14-1913, 2015 WL 8315773, *7 (D. Md. Dec. 9,
2015)…………………………………………………………………………………………14, 15

Hare v. Opryland Hospitality, LLC, DKC-09-0599, 2010 WL 3719915, at *6 (D. Md. Sept. 17,
2010)……………………………………………………………………………………………..14

Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993)………………………………………………..6

SEC v. Jacoby, No. CCB-17-3230, 2022 WL 982529 (D. Md. Mar. 30, 2022) …………………6

Shreve v. Sears, Roebuck & Co., 166 F. Supp. 2d 378, 394 (D. Md. 2001)……………………..14

Smith v. Am. Transitional Hosps., Inc., 330 F. Supp. 2d 1358 (S.D. Ga. 2004)………………...13

Other Authorities

Fed. R. Evid. 702………………………………………………………………………………….5




                                           ii
          Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 4 of 22



                                TABLE OF EXHIBITS
Exhibit                                                                          Pages

A.    Kirchner CV………………………………………………………………………..……..1

B.    Christopher G. Kirchner, P.E. Testimony……………..…….2, 3, 4, 8, 9, 10, 11, 12, 13, 15

C.    Contract……………..………………………………………………………………2, 9, 13

D.    Mark A. Miller Testimony…………………………………………………………….…4

E.    Meera Wagman Testimony……………………………………………………………...5

F.    DC Water LTR (Aug. 29, 2018)………………………………………………………...12




                                          iii
         Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 5 of 22



       Plaintiff SmithGroup, Inc. (“SmithGroup”), by counsel, responds as follows to oppose

Defendant Skanska USA Building, Inc.’s (“Skanska”) Motion for Exclusion of Expert Testimony

(the “Motion to Exclude”):

                                 SUMMARY OF OPPOSITION

       To defend against Skanska’s claims of defects in SmithGroup’s design services,

SmithGroup timely disclosed the opinions of Christopher G. Kirchner, P.E. Mr. Kirchner is

licensed as a professional engineer in both the District of Columbia and Maryland, and his opinions

are supported by thirty years of experience as a practicing mechanical engineer, including

experience designing HVAC systems for significant buildings within the District of Columbia.

Ex. A, Kirchner CV. On that basis alone, Mr. Kirchner is already more qualified than Skanska’s

mechanical engineer expert, who has never designed a single HVAC system in the District of

Columbia. See, SmithGroup’s Br. in Supp. Summ. J. 19-20 (ECF No. 36-1) (citing relevant

portions of Mr. Dowdall’s testimony).

       Skanska’s Motion to Exclude advances three spurious arguments to exclude Mr. Kirchner’s

testimony. Two of those arguments may be rejected on their face. First, Skanska is wrong to argue

that lack of prior experience as a testifying expert supports disqualification under Rule 702 (or any

other rule of evidence). To the contrary, a plain reading of the rule confirms that an expert’s

qualifying “knowledge, skill, experience, training, or education” concerns expertise in the subject

matter of the expert’s opinions, not expertise in litigation support. Cf., Kumho Tire Co., Ltd. v.

Carmichael, 562 U.S. 137, 152 (1999) (“The objective of [Daubert’s gatekeeping] requirement is

to ensure the reliability and relevancy of expert testimony.”). Rule 702 does not demand expertise

in the procedure of testifying at trial, and the rule certainly does not establish a closed society of

professional litigation experts as Skanska infers. Cf., Westberry v. Gislaved Gummi AB, 178 F.3d



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          Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 6 of 22



257, 261 (4th Cir. 1999) (“Rule 702 was intended to liberalize the introduction of relevant expert

evidence.”).

       Second, theories about Mr. Kirchner’s purported bias are a question of weight for the fact-

finder, to be advanced at trial through Skanska’s cross-examination of Mr. Kirchner. Skanska

offers no authority whatsoever for the assertion that accusations of bias are a proper basis to

exclude expert testimony. Skanska’s accusations of bias are not serious anyway because Mr.

Kirchner has professional connections on both sides of this dispute. Ex. B, Kirchner Dep. 225:10-

226:13.

       Finally, Skanska’s argument that Mr. Kirchner failed to “appropriately analyze or provide

opinions on the applicable Standard of Care and whether SmithGroup met the same” is founded

entirely on Skanska’s incomplete parsing of Mr. Kirchner’s deposition testimony and is contrary

to precedent from the Fourth Circuit Court of Appeals. The applicable standard of care is defined

by the Parties’ contract simply as: “... the care and skill ordinarily used by members of the

profession practicing under similar conditions at the same time and locality of the Project.” Ex.

C, Contract, Exhibit PS-1, Amended § 3.1. Mr. Kirchner’s testimony is replete with examples of

his own experience, spanning several decades as a professional design engineer, to form his

opinions about the adequacy of SmithGroup’s professional services under the circumstances of

this DC Water Project. Mr. Kirchner supported his opinions with, among other things, personal

experience on similar design-assist projects, where an engineer is instructed by the design builder

to consider a design-assist subcontractor’s suggestions to meet the construction budget. E.g., Ex.

B, Kirchner Dep. 53:20-64:3.

       In response to Skanska’s repeated attempts to distort Mr. Kirchner’s deposition testimony,

Mr. Kirchner clarified that the reason he did not initially recall reviewing the Parties’ contract was



                                                  2
         Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 7 of 22



because the document recites a common statement of the standard of care, which was the basis of

his standard-of-care opinion anyway. Id., 72:3-75:18. Mr. Kirchner’s role in this litigation is

simply to opine about his comparison of SmithGroup’s professional services against those

expected of similar professionals on similar projects. Indeed, Mr. Kirchner appropriately and

deliberately tailored his analysis to the project’s “similar conditions” by carefully studying

Southland’s more unusual role as Skanska’s mechanical design-assist subcontractor, confirming

that Southland held parallel design responsibility for the project’s HVAC system. Id. 54:14-81:18.

        Skanska’s arguments to exclude Mr. Kirchner’s testimony from trial are unfounded, and

the Motion to Exclude should be denied.

                CORRECTION OF SKANSKA’S FACTUAL ASSERTIONS

        Without belaboring every disputed proposition in the Motion to Exclude, several of

Skanska’s statements of “undisputed material facts” must be addressed to clarify the issues

presented: 1

        The HVAC system was not designed “in its entirety” by SmithGroup, as Skanska stated in

Paragraph 13 of its memorandum (ECF 38-1). 2 Throughout the litigation, Skanska has attempted

to oversimplify this question of design responsibility, now by ignoring testimony within the very

same transcript pages that Skanska cited in its Motion to Exclude. See, Posson Dep. 27-28

(explaining that Skanska’s design-assist subcontractor, Southland, was “an integral part of the



1
        SmithGroup denies many of the facts and contentions advanced by Skanska’s Motion to
Exclude, but a Rule 104 motion is not the procedure to resolve the Parties’ competing
interpretations of fact. To the extent necessary, SmithGroup incorporates by reference the
statement of undisputed material facts supporting its motion for summary judgment (ECF 36-1).
2
         It is particularly ironic how Skanska advances this issue to support its Motion to Exclude,
after Mr. Kirchner unequivocally rejected opposing counsel’s leading question on this same
point: “Q. Ultimately, SmithGroup is responsible for the design though, correct? A. No, sir, not
in this context.” Ex. B, Kirchner Dep. 56:6-56:12.
                                                 3
          Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 8 of 22



design team in helping make decisions, giving constructability reviews, ... and then helping refine

the details to get GMP package put together and then GMP pricing put together ...”). Skanska’s

own fact witnesses testified that the decision to change the HVAC design from a quieter chilled-

beam system to a lower-cost fan-coil system was a “design effort between Southland, SmithGroup,

and Skanska to find a system that worked with the budget.” Ex. D, Miller Dep. 37:1-37:8

(emphasis added); see also, id. 35:11-36:6. This more nuanced context is precisely what Mr.

Kirchner considered when forming his standard of care opinions. See, Ex. B, Kirchner Dep. 56:10-

57:18.

         The Owner did not “inform[] Skanska that the HVAC System contained design defects or

deficiencies,” as Skanska stated in Paragraph 15 of its memorandum. The August 29, 2018 letter

underlying Skanska’s proposition was attached as Exhibit 1 to Skanska’s Counterclaim. In that

letter, the Owner stated that it “believe[d] that there is either a systemic design/manufacturing

problem with the HVAC system or that it is being overloaded, possibly because of conditions

caused by Skanska’s continued inability to complete the building’s exterior glazing on the first

floor.” (emphasis added). As shown, the Owner was speculating in 2018—during construction—

about the cause of HVAC issues, acknowledging that Skanska’s construction or manufacturing

defects or inability to enclose the building could just as likely be the cause. As demonstrated in

SmithGroup’s pending motion for summary judgment, the dispositive question presented by

Skanska’s claims is why should SmithGroup—as opposed to Skanska or Skanska’s subcontractors

and manufacturers—be held liable for budget overruns, delays, or other issues alleged by Skanska?

Mr. Kirchner offers opinions to explain how SmithGroup met the applicable standard of care for

the mechanical design, whereas Skanska continues obfuscating the entire question.

         Contrary to Paragraphs 29-30 of Skanska’s memorandum, Skanska’s expert, Meera



                                                4
         Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 9 of 22



Wagman, repeatedly disclaimed forming any relevant standard of care opinions, and she further

disclaimed forming opinions about the underlying cause of the delays she identified. This issue

was addressed in SmithGroup’s memorandum in support of motion for summary judgment (ECF

36-1) at pages 33-37. As to allegations of HVAC-related delay in particular, Ms. Wagman testified

that it wasn’t possible, at least for her, to allocate an exact number of days to specific issues, “as

they all contributed to this year’s long delay period.” Ex. E, Wagman Dep. 179:3-179:12. Ms.

Wagman was notably unable to allocate specific days of delay to efforts to address HVAC noise

concerns in the face of other, concurrent HVAC issues, none of which neither she nor anyone else

could opine were caused by SmithGroup. Id., 186:12-187:7. There is no basis for Skanska to

accuse Mr. Kirchner of ignoring opinions that Ms. Wagman herself disclaimed having even

formed. Contra, Skanska Mem. ¶ 33.

                                       APPLICABLE LAW

       Rule 702 permits qualification of an expert witness “by knowledge, skill, expertise, training

or education.” An expert so qualified may testify about his opinions at trial so long as:

       (a) the expert’s scientific, technical, or other specialized knowledge will help the
           trier of fact to understand the evidence or to determine a fact in issue;
       (b) the testimony is based on sufficient facts or data;
       (c) the testimony is the product of reliable principles and methods; and
       (d) the expert has reliably applied the principles and methods to the facts of the
           case.

Fed. R. Evid. 702. “Courts have distilled Rule 702’s requirements into two crucial inquiries:

whether the proposed expert’s testimony is relevant and reliable.” Am. Strategic Ins. Corp. v.

Scope Services, Inc., No. PX-15-2045, 2017 WL 4098722, at *2 (D. Md. Sept. 15, 2017) (citing

Kumho Tire, 526 U.S. 137, 141 (1999)).

       “When a party challenges an expert’s qualifications, ‘the test for exclusion is a strict one,

and the purported expert must have neither satisfactory knowledge, skill, experience, training nor


                                                  5
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 10 of 22



education on the issue for which the opinion is proffered.’” Id., at *3; Kopf v. Skyrm, 993 F.2d

374, 377 (4th Cir. 1993); see also, Gibbes, Inc. v. Law Engineering, 960 F.2d 146, (4th Cir. 1992)

(“doubts about whether an expert’s testimony will be useful should generally be resolved in favor

of admissibility” (citation omitted)); SEC v. Jacoby, No. CCB-17-3230, 2022 WL 982529, at *1

(D. Md. Mar. 30, 2022) (“the trial court’s role as gatekeeper is not intended to serve as a

‘replacement for the adversary system, and consequently, the rejection of expert testimony is the

exception rather than the rule”).     Specifically, “formal scientific or academic training and

methodology is not a necessary predicate to testimony as an expert. Rather, experience alone, or

in conjunction with ‘other knowledge, skill, training or education,’ can provide a sufficient

foundation for expert testimony.” Id.

       The “fit between an expert’s specialized knowledge and experience and the issues before

the court need not be exact.” Id. The value of standard of care opinions in particular is to help the

factfinder “answer whether the defendant’s actions fell below standards commonly held by those

in the profession.” Id., at *7.

       The District of Maryland has distinguished “experiential” experts (whose opinions are

based on years of professional experience) from scientific experts (whose opinions may be peer

reviewed). SEC, 2022 WL 982529, at *3. Because the defendants in SEC failed to show that the

challenged standard of care expert’s opinions were unreliable, disagreement with the expert’s

conclusions and analysis was properly remedied through cross-examination—not by exclusion.

Id.

       There is zero authority for the absurd proposition advanced by Skanska that an expert can

and should be excluded merely because he or she has not previously served as an expert in a

litigation context before. The relevant inquiry is the expert’s skills, knowledge and experience in



                                                 6
         Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 11 of 22



the relevant technical field, not his or her experience as an advocate in litigation.

        As to professional engineer experts opining about the standard of care in malpractice

lawsuits, the Fourth Circuit does not require expertise in legal terms of art. Gibbes, 960 F.2d, at

4. For that reason, opposing counsel cannot take advantage of an expert’s confusion about legal

terminology during a deposition to disqualify the expert. Id. For example, rather than confuse an

engineer expert by demanding a definition of the term “standard of care,” counsel should simply

ask the witness engineering-focused questions, such as requesting a description of the “degree of

care and skill as, under similar conditions and like surrounding circumstances, is ordinarily

employed” by engineers performing similar services. Id. The Fourth Circuit appreciates that an

adverse attorney’s tactical deposition questioning and resulting witness confusion are not probative

about whether the witness was capable of describing the applicable standard of care, had

appropriate questions been asked during the deposition. Id.

        Finally, Skanska failed to cite any authority supporting its proposition that accusations of

bias against an expert witness are proper grounds for exclusion of the expert’s testimony under

Rule 104. To the contrary, the authorities cited by Skanska’s own memorandum confirm that

“[e]xploring bias is a proper topic for cross-examination....” Dorman v. Annapolis OB-GYN Ass.,

P.A., 781 Fed. App’x 136, 144 (4th Cir. 2019); see also, Georgia-Pacific Corp. v. Ervin and

Edwards Const. Co., 891 F.2d 286, 1989 WL 141652, *2 (4th Cir. 1989) (denying plaintiff’s

motion to exclude mention of insurance during the testimony of plaintiff’s damages expert, holding

that employment of the expert by plaintiff’s insurance carrier was relevant and admissible on the

issue of bias).




                                                  7
         Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 12 of 22



                                            ARGUMENT

I.      MR. KIRCHNER FORMED PROPER AND ADMISSIBLE OPINIONS ABOUT
        THE APPLICABLE STANDARD OF CARE
        Skanska, like the appellee in Gibbes, tries to argue that Mr. Kirchner does not know the

applicable standard of care and is not qualified to opine about the applicable standard of care. See,

Skanska Mem. 1, 9-10, 12-14. Like the appellee in Gibbes, Skanska’s argument relies entirely

upon Skanska’s efforts to confuse Mr. Kirchner during the deposition and to manipulate Mr.

Kirchner’s deposition testimony.

        At the outset of his deposition, Mr. Kirchner explained that he was opining about the

applicable standard of care, as Mr. Kirchner understood it as a professional. Ex. B, Kirchner Dep.

49:8-49:14. Though Mr. Kirchner did not initially recall reviewing the Parties’ contract, once

presented with the document’s standard of care language he explained that the language “was very

similar to other contracts that [he had] seen,” and that he did recall seeing that section of the Parties’

contract a long time ago. Id., 77:10-77:13. From then on, Mr. Kirchner repeatedly clarified with

increasing certainty that he had seen the contract language prior to forming his opinions about the

applicable standard of care. Id. 78:20-82:1.

        Skanska tries to argue that Mr. Kirchner’s study of this contract language was inadequate,

and further to infer that Mr. Kirchner did not “understand or opine on the applicable Standard of

Care as defined by the Design Agreement”. Skanska Mem. 12 (emphasis in original). But

Skanska’s argument falls apart immediately when you read the contract’s standard of care

language, which mirrors exactly the common-law standard of care:

        Designer and its Consultants shall perform all Design Services in accordance with
        all Legal Requirements, satisfying the requirements called for in the Contract
        Documents including the Project Budget and Schedule and this Agreement, and
        notwithstanding anything to the contrary, further agrees to execute the Design
        Services with the care and skill ordinarily used by members of the profession
        practicing under similar conditions at the same time and locality of the Project.

                                                    8
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 13 of 22




Ex. C, Contract, Exhibit PS-1, Amended § 3.1 (emphasis added). By comparison, were the contract

silent on the standard of care to be used, the common law supplies one: “In an action against a

professional man for malpractice, the plaintiff bears the burden of overcoming the presumption

that due skill and care were used.” Crockett v. Crothers, 264 Md. 222, 224,-25, 285 A.2d 612,

614 (1972) (approving an instruction that the defendant, an engineer, is required “to exercise that

degree of care that a careful and prudent engineer would exercise under similar circumstances.”);

accord, Telak v. Maszczenkski, 248 Md. 476, 482, 237 A.2d 434, 443 (1968). Cf., MPJI-Cv 27:2

(standard of car for doctors) and MPJI-Cv 27:7 (standard or care for lawyers). There is simply no

difference between what the contract required by its express terms and what the common law

would have required impliedly in the absence of an express term.

       Exactly like the appellee in Gibbes, Skanska improperly attempts to discredit Mr.

Kirchner’s foundation and expertise by arguing that Mr. Kirchner did not know or understand

certain legal terminology. Gibbes, at *4. Contrary to Skanska’s misdirection, Mr. Kirchner’s

opinion properly considered whether SmithGroup performed its services “with the care and skill

ordinarily used by members of the profession practicing under similar conditions at the same time

and locality of the Project.” Mr. Kirchner’s opinions about that subject matter were properly

founded on his review of design documentation from throughout this project, which he evaluated

based on his decades of experience as a practicing mechanical engineer, licensed in the District of

Columbia (among other jurisdictions), who has designed HVAC systems (including systems using

DOAS), 3 and who has experience working with design-assist contractors. E.g., Ex. B, Kirchner

Dep. 14:6-22:3, 33:7-35:13, 36:16-41:22, 57:2-57:13, 58:1-58:11, 62:1-64:3, 74:20-77:13, 108:14-



3
       “DOAS is an acronym for Dedicated Outdoor Air System and was discussed in detail at
page 17 of SmithGroup’s opening brief in support of summary judgment.
                                                9
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 14 of 22



112:22, 123:12-124:6, 167:14-171:1, 179:17-181:8, 205:5-206:4, 212:1-215:8, 221:7-226:16,

228:16-228:21, 231:14-232:9, 238:4-239:9, 241:17-243:14, 246:2-252:11, 268:9-268:17, 274:3-

274:18, 285:7-290:9, 296:25-297:13, 301:10-301:16, 303:1-303:18.

       Later in his deposition, Mr. Kirchner was asked the kind of clarifying questions suggested

by the Fourth Circuit in Gibbes¸ rebutting Skanska’s attempts to manipulate Mr. Kirchner’s

testimony:

       Q.      In your opinion, did SmithGroup execute the design services called for in
       its agreement with care and skill ordinarily used by members of the profession
       practicing under similar circumstances in the Washington, D.C. area?
       A.      Yes.
       Q.      And when you wrote your report, did you have that standard in mind?
       A.      Yes.

Ex. B, Kirchner Dep. 313:4-313:12.

       Regardless of whether Mr. Kirchner read Section 3.1 of the Parties’ contract—as he

repeatedly clarified that he did—Mr. Kirchner’s opinions about SmithGroup’s services are

properly founded upon his professional experience and study of relevant information.

       For example, Skanska attempts to criticize Mr. Kirchner for considering the role of

Skanska’s subcontractor, Southland, when evaluating SmithGroup’s compliance with the

applicable standard of care. Skanska Mem., at 14. But Mr. Kirchner explained why understanding

Southland’s role as a design-assist subcontractor was essential to understanding the standard of

care owed by SmithGroup:

               The group, the team is responsible for the design. This was a collaborative
       arrangement. There was a design assist agreement, so in my understanding of this
       and in my experience, this was a collaborative effort. They were all responsible for
       the design.
       ...
               I’ve worked on many design assist projects, and the definition can vary, but
       based on the design assist contract that I reviewed on this one, Southland, at least
       the subcontractor was being held to the same standard of care as any other
       professional design, and normally in a—in that design assist role, they take a much


                                               10
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 15 of 22



       greater piece, the subcontractor takes a much greater part of assisting that design,
       and that’s the purpose of having the design assist contractor there, is to help develop
       the design, to keep the design within the budget that was set for it.

Ex. B, Kirchner Dep. 56:14-57:13.

       Based on that context, Mr. Kirchner explained how SmithGroup had limited practical

ability to overrule Skanska and Southland’s proposals to bring the HVAC design within Skanska’s

construction budget, thereby undermining a central theme of Skanska’s claims:

              To a certain degree, yes [SmithGroup can overrule Southland], depending
       on what the issue is, but usually only in the issue—usually in my experience on—
       being on both sides, it usually has to be a health and safety or code issue if money
       is involved. If costs are trying to be controlled and the design/builder in this
       instance is the one that is looking for ways to try to cut costs, usually that is
       something that ends up becoming incorporated into the design, unless it is
       something that would be against health and safety or against code or go against the
       owner’s wishes.

Id. 58:1-58:11; contra, e.g., Skanska Opp’n to Summ. J., at 3 (“If SmithGroup disagreed,

SmithGroup could have informed Skanska that it would not accept Southland’s suggestions.”).

       As Mr. Kirchner explained, SmithGroup was not at liberty to reject Southland’s HVAC

design proposal to use less expensive (but louder) equipment, as Skanska contends, because

SmithGroup had a competing contractual obligation to try to accommodate Skanska’s budget in

the design, and noisy equipment doesn’t present any health or safety concern. Ex. B, Kirchner

Dep. 168:9-172:7. Mr. Kirchner further explained why it was appropriate, and more efficient, for

SmithGroup to wait until the mechanical design was set before considering which acoustical

treatments to add in the process of finalizing the construction documents. Ex. B, Kirchner Dep.

115:4-117:21.

       As to the DOAS system, Mr. Kirchner explained how a mechanical engineer provides

design intent, and then the manufacturer or the builder’s controls contractor is responsible for

configuring the equipment to operate as intended by the engineer. Ex. B, Kirchner Dep. 227:7-


                                                 11
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 16 of 22



232:9. Mr. Kirchner has personal experience with software updates causing control problems, and

also with DOAS systems not working as intended because the building was not properly sealed.

Id., 227:7-228:21. These are examples of alternate causes for the alleged HVAC issues on this

project, which are completely unrelated to SmithGroup’s design, and therefore prevent Skanska

from proving liability against SmithGroup. See, e.g., Ex. F, DC Water LTR (Aug. 29, 2018)

(suggesting that HVAC problems might be caused by “Skanska’s continued inability to complete

the building’s exterior glazing on the first floor”); SmithGroup Mem. in Supp. Summ. J., at 17-18

(addressing the bald assumption of Skanska’s engineer expert, Mr. Dowdall, that the DOAS

system “may” not be capable of operating at target conditions).

       Similarly, Mr. Kirchner opined that even though the applicable building code technically

required condensate piping, “it is well known in that area that that requirement was not necessarily

for these type of systems, and so the code was actually changed in 2015 to allow that to occur, and

there’s been millions of square feet buil[t] in Washington, D.C. of these types of systems without

condensate drains.” Ex. B, Kirchner Dep. 205:5-205:11. These are proper opinions about the

applicable standard of care for HVAC design in the District of Columbia, based on Mr. Kirchner’s

own experience designing HVAC systems, including for buildings in the District of Columbia.

Id., 221:17-223:22; contra, Skanska Mem. 13-14.

       As shown, Mr. Kirchner’s standard of care opinions properly rebut Mr. Dowdall’s opinions

criticizing SmithGroup’s mechanical design for noise, lack of condensate drains, and DOAS

issues. 4 This testimony, demonstrating how Mr. Kirchner properly tailored his standard of care

opinions to the circumstances and location of the DC Water project, is completely distinguishable



4
       Mr. Kirchner’s opinions go into even greater detail about these topics. Yet the testimony
discussed above is sufficient to demonstrate the lack of merit in Skanska’s attacks against Mr.
Kirchner and the basis of his opinions.
                                                12
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 17 of 22



from the cases cited by Skanska to support exclusion of expert testimony from trial. For example,

Mr. Kirchner never testified that he did not know the applicable standard of care, as in the Georgia

case Skanska cited, Smith v. Am. Transitional Hosps., Inc., 330 F. Supp. 2d 1358 (S.D. Ga. 2004).

Indeed, the expert nurse in Smith was disqualified based on her opinion that the applicable standard

of care is defined by a facility’s policies and procedures, rather than by the “reasonable degree of

care and skill ordinarily exercised by members of the nursing profession generally under

conditions and similar and surrounding circumstances.” Id., 330 F. Supp. 2d, 1361 (emphasis in

original). Under the Smith analysis, it is Skanska—not Mr. Kirchner—who improperly advances

a unique, project-specific standard of care based on a parsed interpretation of contract language.

       This case also does not involve a “national” standard of care, as discussed in the cases cited

on pages 12-13 of Skanska’s memorandum. Consistent with Mr. Kirchner’s stated opinions, the

applicable standard of care looks to “the care and skill ordinarily used by members of the

profession practicing under similar conditions at the same time and locality of the Project.” Ex.

C, Contract § 3.1. As shown, Mr. Kirchner properly tailored his opinions to similar conditions

(including the design-assist context) and also the time and locality (concerning contemporary

interpretations of code requirements for condensate piping in the District of Columbia) of the

Project. E.g., Ex. B, Kirchner Dep. 54:11-58:11; 204:12-206:14. 5

       Mr. Kirchner’s opinions about SmithGroup’s compliance with the applicable standard of

care are proper and admissible.           Skanska’s Motion to Exclude should be denied.




5
        Note the sharp contrast between Mr. Kirchner’s properly tailored opinions, versus the
ipse dixit of Skanska’s expert, who has never designed a building in D.C., and who contends that
code officials who disagree with his opinions must have made “mistakes.” SmithGroup Mem. in
Supp. Summ. J., at 19-20.
                                                13
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 18 of 22



II.     LACK OF “EXPERIENCE” TESTIFYING AS AN EXPERT WITNESS IS
        IRRELEVANT TO AN EXPERT’S QUALIFICATION UNDER RULE 702

        Little needs to be said in response to Skanska’s argument that Mr. Kirchner lacks

experience “as an expert witness” because Skanska failed to offer any authority to support this

challenge. Skanska Mem., at 14-15. The first case cited by Skanska, Green v. Wing Enterprises,

Inc., No. RDB-14-1913, 2015 WL 8315773, *7 (D. Md. Dec. 9, 2015), concerns a court’s general

gatekeeper role, but without suggesting that lack of prior experience as an “expert witness” is a

relevant consideration. The other two cases cited by Skanska on this issue appear to have been

cited in error, as they discuss questions of bias argued in a completely different section of

Skanska’s brief.

        What authority can be found suggests that the District of Maryland is instead concerned

with preventing prior experience as an expert witness from supplanting proper, Rule 702

qualification in the subject matter of the expert’s testimony. “In all cases ... the district court must

ensure that it is dealing with an expert, not just a hired gun.” Hare v. Opryland Hospitality, LLC,

DKC-09-0599, 2010 WL 3719915, at *6 (D. Md. Sept. 17, 2010); see also, Shreve v. Sears,

Roebuck & Co., 166 F. Supp. 2d 378, 394 (D. Md. 2001) (“In my judgment, Dr. Shelley offers his

opinions concerning the Murray snow thrower at issue in this case as a classic ‘hired gun,’ with

no particular expertise concerning snow throwers.”). If anything, a practicing engineer with over

thirty years of experience with the exact system and project delivery method at issue who happens

to be serving his first engagement as a testifying expert should be considered more reliable than a

witness who leveraged professional credentials to build a career out of testifying in court.

        Mr. Kirchner’s decades of experience as a practicing mechanical engineer, specifically

including experience designing DOAS-based HVAC systems in the District of Columbia with a

design-assist project delivery method, is proper qualification to support his opinions under Rule


                                                  14
        Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 19 of 22



702. Indeed, his lack of experience as a courtroom advocate only enhances his credibility.

Skanska’s Motion to Exclude should be denied.

III.   THEORIES ABOUT WITNESS BIAS SHOULD BE RAISED DURING CROSS-
       EXAMINATION AT TRIAL—NOT IN A RULE 104 MOTION
       Unlike Skanska’s “experience” argument (which lacked supporting authority), the cases

cited in Skanska’s brief actually contradict Skanska’s proposition of excluding expert testimony

based on accusations of bias. See, Green v. Wing Enterprises, Inc., No. RDB-14-1913, 2015 WL

8315773, *7 (D. Md. Dec. 9, 2015) (“It is the jury ... on whom the duty falls to weight the

sufficiency and credibility of each party’s evidence.”); Dorman v. Annapolis OB-GYN Assocs.,

P.A., 781 F. App’x 136 (4th Cir. 2019) (“[e]xploring bias is a proper topic for cross-examination.”)

(citation omitted); Georgia-Pac. Corp. v. Ervin & Edwards Const. Co., 15 891 F.2d 286 (4th Cir.

1989) (expert who was employee of and claims adjuster for plaintiff’s insurance carrier was

permitted to testify, but “[h]is employment was relevant and admissible on the issue of bias.”). As

shown by the authorities cited in Skanska’s own brief, theories about bias are a subject for cross-

examination—not a basis for preemptive exclusion of Mr. Kirchner’s opinions from trial.

       To be sure, Skanska is overplaying its accusations of bias, further demonstrating why the

alleged bias is no grounds for exclusion. Skanska’s entire argument is based on Mr. Kirchner’s

experience working at SmithGroup from 1997-2004. Ex. B, Kirchner Dep. 22:20-26:4. Mr.

Kirchner does not have a personal relationship with any of SmithGroup’s fact witnesses in this

litigation. Id. The closest relationship he had with any of SmithGroup’s witnesses was a

professional relationship with an engineer named Don Posson, based on a project in D.C. that they

worked on together for six months prior to 2004, while Mr. Posson was working in the D.C. office

and Mr. Kirchner was working in the Detroit office. Id. Mere employment at SmithGroup twenty

years ago is no basis to assume that Mr. Kirchner’s opinions and testimony are unreliable.


                                                15
         Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 20 of 22



        It is not surprising that as a result of a decades-long career, Mr. Kirchner has previously

encountered witnesses and entities involved in this litigation. In addition to SmithGroup, Mr.

Kirchner has also worked with people associated with Skanska’s design-assist subcontractor,

Southland, supporting prior knowledge of some of Southland’s other projects. Id., 223:22-226:16.

Mr. Kirchner therefore has prior experience working with people associated with both sides of this

litigation.

        The remedy for Skanska’s accusations of bias is simply for Skanska to question Mr.

Kirchner during cross-examination at trial. The Motion to Exclude should be denied.

                                         CONCLUSION

        As shown, Skanska failed to raise any proper challenge to Mr. Kirchner’s opinions or

qualifications to offer those opinions at trial. For these reasons, Skanska’s Motion to Exclude

should be denied, and the Court should grant any further relief to SmithGroup that it deems

appropriate.



Dated: May 27, 2022                                  Respectfully submitted,


                                                     /s/     Leslie Paul Machado

                                                     Leslie Paul Machado (Bar No. 14952)
                                                     Alison C. Duffy (Md. Bar No. 21002)
                                                     O’HAGAN MEYER, PLLC
                                                     2560 Huntington Avenue, Suite 204
                                                     Alexandria, Virginia 22303
                                                     (703) 775-8607 (phone)
                                                     (804) 403-7110 (facsimile)
                                                     lmachado@ohaganmeyer.com
                                                     aduffy@ohaganmeyer.com

                                                     Stephan F. Andrews (admitted pro hac vice)
                                                     James W. Walker (admitted pro hac vice)
                                                     O’HAGAN MEYER, PLLC


                                                16
Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 21 of 22



                                   411 East Franklin Street, 5th Floor
                                   Richmond, Virginia 23219
                                   (804) 403-7100 (phone)
                                   (804) 403-7110 (facsimile)
                                   sandrews@ohaganmeyer.com
                                   jwalker@ohaganmeyer.com
                                   Counsel for SmithGroup, Inc.




                              17
       Case 8:20-cv-02499-LKG Document 39 Filed 05/27/22 Page 22 of 22



                               CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of May, 2022, I served the foregoing via ECF/Pacer

and via electronic mail to counsel for Skanska USA Building, Inc.




                                                   /s/     Leslie Paul Machado




                                              18
